                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )          No. 3:10-00065
                                           )          JUDGE CAMPBELL
QUINCY MAURICE FUQUA                       )


                                         ORDER

      Pending before the Court is Defendant Quincy M. Fuqua’s Motion To Join And Adopt

Co-Defendant Victor Owens’ Motion To Suppress And Request For Franks Hearing (Docket No.

171). The Motion is GRANTED.

      It is so ORDERED.



                                               _________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065       Document 172    Filed 10/31/12    Page 1 of 1 PageID #: 539
